                                         UNITED STATES DISTRICT COURT
                      Case 2:09-cr-00230-GGH  DocumentOF
                                      EASTERN DISTRICT 87CALIFORNIA
                                                           Filed 02/11/10 Page 1 of 1

UNITED STATES OF AMERICA                                 )
                                                         )        2:09-cr-00230 GGH
                 v.                                      )
                                                         )
MICHAEL DAVID SANDERS                                    )

                                APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       () Ad Prosequendum                                (X) Ad Testificandum

Name of Detainee:               Rico Nava
Detained at (custodian):        Sacramento County Jail
Detainee is:             a.)    () charged in this district by: () Indictment () Information () Complaint
                                   charging detainee with: __________________________________________________
                 or       b.)   (X) a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)   (X) return to the custody of detaining facility upon termination of proceedings
                 or       b.)   () be retained in federal custody until final disposition of federal charges, as a sentence is
                                   currently being served at the detaining facility

        Appearance is necessary on February 12, 2010, at 11:00 a.m. in the Eastern District of California.

                                Signature:                        /s/Robin R. Taylor
                                Printed Name & Phone No:          AUSA ROBIN R. TAYLOR 916-554-2722
                                Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          () Ad Prosequendum                  (X Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, February 12, 2010, at 11:00 a.m. and any further
proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.

Date: February 11, 2010
                                                     /s/ Gregory G. Hollows
                                                    _____________________________________________
                                                    United States Magistrate Judge
_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):         _____________________________________________                       Male Female
Booking or CDC #:               _______________________                                             DOB:
Facility Address:               Sacramento County Jail           Race:
                                _______________________________________                             FBI #:
Facility Phone:                 ____________________
Currently Incarcerated For:     _____________________________________________

_________________________________________________________________________________________________
                                                  RETURN OF SERVICE

Executed on      ____________________________                     By: ___________________________________________________
                                                                      (Signature)
